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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION

 THE STATE OF LOUISIANA,
 By and through its Attorney General, Jeff
 Landry,

                                        PLAINTIFF,

 v.

 UNITED STATES ENVIRONMENTAL                          CIVIL ACTION NO. 2:23-cv-00692
 PROTECTION AGENCY; et al.,

                                    DEFENDANTS.


          STATE’S UNOPPOSED MOTION FOR PARTIAL VOLUNTARY DISMISSAL WITHOUT
                                     PREJUDICE

        The States of Louisiana, by and through its Attorney General, Jeff Landry (the “State”),

respectfully moves to dismiss voluntarily, without prejudice: (1) President Biden as a Defendant and

(2) Count VII of the State’s Complaint (the “Parallel Tracks” count).

        Defendants do not appear to dispute that the relevant Extra-Regulatory Requirements that the

State challenges (the cumulative-impact mandates) have not received Presidential ratification pursuant

to 42 U.S.C. § 2000d-1. (Defendants do dispute that the ratification requirement is applicable here,

however.) In light of that concession, the State no longer needs relief against President Biden, since

he is not alleged to have ratified illegal mandates, and therefore agrees that he may be dismissed as a

Defendant at this time.

        Similarly, in light of EPA’s sudden, post-suit abandonment of all pending Title VI

investigations, the State’s practical need for relief on Count VII is now substantially diminished.

Therefore, to streamline and simplify this case, the State respectfully seeks to dismiss that Count VII

voluntarily and to focus on its other claims.




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       The State has discussed this request with counsel for Defendants, who do not oppose this

request.

                                            CONCLUSION

       For the foregoing reasons, the State’s motion to dismiss voluntarily President Biden and Count

VII without prejudice should be granted.



       Dated: September 29, 2023                          Respectfully submitted,

       Re-filed: October 3, 2023                          By:/s/ J. Scott St. John

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